Case 2:05-cr-20270-.]DB Document 8 Filed 07/27/05 Page 1 of 2 Page|D 8

   
  

UNITED sTATEs DISTRICT coURT ’H"'“'“"“*é fz’mf :'J-.o.
WESTERN DISTRICT 0F TENNESSEE U.,.~ J 1
Western Division d bl' 27 FH ii i3
UNITED sTATEs oF AMERICA ,\\, @; ` “
m hille d ?JLQGURF
-vs- Case No\./ 2:0§3¥13§703

BRANDON THOMAS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. According]y,
the Court makes the following appointment pursuant to the Crilninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The F ederal Pub]ic Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

7¢ 14
DONE and ORDERED in 167 North Main, Memphis, this 0? 7 day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Oftice

Assistant Federal Public Defender
lntake

BRANDON THOMAS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20270 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed

 

 

PDA

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l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

